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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

TREPPEL FAMILY TRUST, Derivatively on
Behalf of ABBVIE INC.,

                        Plaintiff,
                                                  JURY TRIAL DEMANDED
       v.

RICHARD A. GONZALEZ, MICHAEL E.
SEVERINO, ROBERT A. MICHAEL,
JEFFREY R. STEWART, GLENN F.
TILTON, ROBERT J. ALPERN, ROXANNE                 Case No.
S. AUSTIN, WILLIAM H.L. BURNSIDE,
FREDERICK H. WADDELL, EDWARD J.
RAPP, EDWARD M. LIDDY, BRETT J.
HART, MELODY B. MEYER, REBECCA B.
ROBERTS, and THOMAS C. FREYMAN,

                        Defendants,

    - and -

ABBVIE INC., a Delaware Corporation,

                        Nominal Defendant.


     VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT FOR BREACH OF
           FIDUCIARY DUTY AND VIOLATION OF SECURITIES LAW

       Plaintiff, by its attorneys, submits this Verified Stockholder Derivative Complaint for

Breach of Fiduciary Duty and Violation of Securities Law. Plaintiff alleges the following on

information and belief, except as to the allegations specifically pertaining to plaintiff which are

based on personal knowledge. This complaint is also based on the investigation of plaintiff's

counsel, which included, among other things, a review of public filings with the U.S. Securities

and Exchange Commission ("SEC") and a review of news reports, press releases, and other

publicly available sources.




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                        NATURE AND SUMMARY OF THE ACTION

       1.      This is a stockholder derivative action brought by plaintiff on behalf of nominal

defendant AbbVie Inc. ("AbbVie" or the "Company") against certain of its officers and directors

for breach of fiduciary duty and violations of law. These wrongs resulted in damage to AbbVie's

reputation, goodwill, and standing in the business community. Moreover, these actions have

exposed AbbVie to billions of dollars in potential liability for violations of state and federal law.

       2.      AbbVie, and its fiduciaries, are currently in a race against time. The Company is

set to lose the patent protection for its key drug, Humira® in 2023. Humira currently brings in

more than $20 billion a year, more than one-third of AbbVie's revenues. With the loss of Humira's

patent protection, AbbVie will face generic competitors for the drug. The Company's Chief

Executive Officer ("CEO") has admitted than when that occurs, AbbVie expects to see "45%

erosion, plus or minus 10%" in Humira sales.

       3.      With this backdrop, it was vital that the Company's fiduciaries find a replacement

revenue source for Humira before its 2023 expiration. As explained below, the defendants led the

market to believe they had done so with the drug Rinvoq®, a treatment for rheumatoid arthritis

("RA").

       4.      Rinvoq falls into the family of drugs know that Janus kinase ("JAK") inhibitors.

As the name implies, JAK inhibitors prevent JAK enzymes from acting as a pathway for the

messages from proteins called cytokines, which play a role in inflammation that causes many of

negative effects of RA. Defendants conditioned the market to believe that Rinvoq had blockbuster

potential for the treatment of RA and other maladies.

       5.      JAK inhibitors were not without side effects, however. In fact, in approving Pfizer

Inc.'s ("Pfizer") JAK inhibitor, Xeljanz®, the U.S. Food and Drug Administration ("FDA")




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required Pfizer to continue safety studies, most importantly the ORAL Surveillance study. The

results of this study were unfavorable. The ORAL Surveillance study found serious and significant

side effects from using Xeljanz, including major adverse cardiovascular events.

       6.      Despite this negative news about Xeljanz, defendants conditioned the market to

believe that Rinvoq, despite also being a JAK inhibitor, was sufficiently different from Xeljanz

and that the ORAL Surveillance study was essentially irrelevant. This was, unfortunately, not the

case. The FDA announced major label changes to JAK inhibitors, including Xeljanz and Rinvoq,

and stated that Rinvoq's approved usage was limited to those adults with RA that had an inadequate

response to other drugs.

       7.      In the wake of this disclosure, AbbVie's market capitalization plunged by over $15

billion. Further, as a direct result of this unlawful course of conduct, AbbVie is now the subject

of at least one federal securities class action lawsuit in this District on behalf of investors who

purchased AbbVie stock.

       8.      In addition, these false statements were only made possible as a result of the

Company's lax corporate governance. Stockholders have recognized this problem, as AbbVie has

been sued for such notable legal failures as violating antitrust laws. These concerned stockholders

asked for the Company's fellow stockholders to vote to separate AbbVie's role of CEO and

Chairman of the Board of Directors (the "Board"), and thereby include AbbVie's governance. The

Board, however, urged stockholders to reject the proposal. In doing so, the Board made a series

of false statements about its oversight and passed those off as fact in violation of federal securities

laws. With this backdrop, the Company's stockholders rejected the stockholder proposal.

       9.      Accordingly, plaintiff now seeks to hold defendants accountable for their false and

misleading statements and the harm they caused to AbbVie.




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                                  JURISDICTION AND VENUE

        10.     Pursuant to 28 U.S.C. §1331 and section 27 of the Securities Exchange Act of 1934

(the "Exchange Act"), this Court has jurisdiction over the claims asserted herein for violation of

section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder. This Court has

supplemental jurisdiction over the remaining claims under 28 U.S.C. §1367.

        11.     This Court has jurisdiction over each defendant named herein because each

defendant is either a corporation that conducts business in and maintains operations in this District,

or is an individual who has sufficient minimum contacts with this District to render the exercise

of jurisdiction by the District courts permissible under traditional notions of fair play and

substantial justice.

        12.     Venue is proper in this Court in accordance with 28 U.S.C. §1391 because:

(i) AbbVie maintains its principal place of business in this District; (ii) one or more of the

defendants either resides in or maintains executive offices in this District; (iii) a substantial portion

of the transactions and wrongs complained of herein, including the defendants' primary

participation in the wrongful acts detailed herein, and aiding and abetting and conspiracy in

violation of fiduciary duties owed to AbbVie, occurred in this District; and (iv) defendants have

received substantial compensation in this District by doing business here and engaging in

numerous activities that had an effect in this District.

                                           THE PARTIES

Plaintiff

        13.     Plaintiff Treppel Family Trust was a stockholder of AbbVie at the time of the

wrongdoing complained of, has continuously been a stockholder since that time, and is a current

AbbVie stockholder.




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Nominal Defendant

          14.    Nominal Defendant AbbVie is a Delaware corporation with principal executive

offices located at 1 North Waukegan Road, North Chicago, Illinois. AbbVie is a global, research-

based biopharmaceutical company which develops and markets advanced therapies that address

some of the world's most complex and serious diseases. AbbVie was incorporated in Delaware on

April 10, 2012. On January 1, 2013, AbbVie became an independent, publicly-traded company as

a result of the distribution by Abbot Laboratories of 100% of the outstanding common stock of

AbbVie to Abbott Laboratories' stockholders.

Defendants

          15.    Defendant Richard A. Gonzalez ("Gonzalez") has been AbbVie's CEO, Chairman

of the Board, and director since January 2013. Defendant Gonzalez is named as a defendant in a

related securities class action complaint that alleges he violated sections 10(b) and 20(a) of the

Securities Exchange Act of 1934 (the "Exchange Act"). AbbVie paid defendant Gonzalez the

following compensation as an executive:

                                                                    Change in
                                                                  Pension Value
                                                                     and Non-
                                                                     qualified
                                                     Non-Equity      Deferred
                                                   Incentive Plan Compensation    All Other
  Year       Salary     Stock Awards Option Awards Compensation      Earnings   Compensation    Total
  2021     $1,700,000    $12,573,689   $3,134,649    $4,908,750      $780,993     $814,073   $23,912,154
  2020     $1,688,462    $11,644,996   $2,781,662    $4,908,750     $2,224,135    $759,586   $24,007,591


          16.    Defendant Michael E. Severino ("Severino") has been AbbVie's Vice Chairman

and President since December 2018. Defendant Severino was also AbbVie's Chief Scientific

Officer, Executive Vice President, Research and Development from May 2014 to December 2018.

Defendant Severino is named as a defendant in a related securities class action complaint that




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alleges he violated sections 10(b) and 20(a) of the Exchange Act. AbbVie paid defendant Severino

the following compensation as an executive:

                                                                   Change in
                                                                 Pension Value
                                                                    and Non-
                                                                    qualified
                                                    Non-Equity      Deferred
                                                  Incentive Plan Compensation    All Other
 Year       Salary     Stock Awards Option Awards Compensation      Earnings   Compensation    Total
 2021     $1,411,031    $4,258,823    $1,061,733    $2,700,000     $1,437,307    $181,026   $11,049,920
 2020     $1,369,923    $5,822,401    $1,390,831    $2,700,000     $1,910,985    $216,918   $13,411,058


         17.    Defendant Robert A. Michael ("Michael") has been AbbVie's Vice Chairman,

Finance and Commercial Operations since December 2021 and Chief Financial Officer since

October 2018. Defendant Michael was also Executive Vice President from October 2018 to

December 2021; Vice President, Controller from March 2017 to October 2018; Vice President,

Treasurer from 2015 to March 2017;Vice President, Controller, and Commercial Operations from

2013 to 2015; and Vice President, Financial Planning and Analysis from 2012 to 2013. Defendant

Michael is named as a defendant in a related securities class action complaint that alleges he

violated sections 10(b) and 20(a) of the Exchange Act. AbbVie paid defendant Michael the

following compensation as an executive:

                                                                   Change in
                                                                 Pension Value
                                                                    and Non-
                                                                    qualified
                                                    Non-Equity      Deferred
                                                  Incentive Plan Compensation    All Other
 Year       Salary     Stock Awards Option Awards Compensation      Earnings   Compensation    Total
 2021     $1,129,881    $4,258,823    $1,061,733    $2,630,000     $2,525,840    $61,389    $11,667,666
 2020     $1,065,385    $5,406,515    $1,291,477    $2,110,000     $3,571,858    $49,394    $13,494,629


         18.    Defendant Jeffrey R. Stewart ("Stewart") has been AbbVie's Executive Vice

President, Chief Commercial Officer since March 2021. Defendant Stewart was also Senior Vice

President, U.S. Commercial Operations from 2018 to March 2021; and President, Commercial

Operations from 2013 to 2018. Defendant Stewart is named as a defendant in a related securities



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class action complaint that alleges he violated sections 10(b) and 20(a) of the Exchange Act.

AbbVie paid defendant Stewart the following compensation as an executive:

                                                                    Change in
                                                                  Pension Value
                                                                     and Non-
                                                                     qualified
                                                     Non-Equity      Deferred
                                                   Incentive Plan Compensation    All Other
  Year       Salary     Stock Awards Option Awards Compensation      Earnings   Compensation    Total
  2021     $1,074,231    $2,839,144     $707,822     $2,050,000     $2,212,898    $129,001   $9,013,096


          19.    Defendant Glenn F. Tilton ("Tilton") has been AbbVie's Lead Independent Director

and a director since January 2013. Defendant Tilton has been a member of AbbVie's Audit

Committee since at least March 2020. AbbVie paid defendant Tilton the following compensation

as a director:

                                                Restricted
             Fiscal                             Stock Unit        All Other
              Year       Fees Paid in Cash       Awards         Compensation         Total
              2021           $171,000            $194,904         $26,151          $392,055
              2020           $168,917            $194,934         $30,699          $394,550

          20.    Defendant Robert J. Alpern ("Alpern") has been an AbbVie director since January

2013. AbbVie paid defendant Alpern the following compensation as a director:

                                                           Change in
                                                         Pension Value
                                                              and
                                                          Nonqualified
                                          Restricted       Deferred
    Fiscal                                Stock Unit     Compensation        All Other
     Year        Fees Paid in Cash         Awards          Earnings        Compensation         Total
     2021            $115,000              $194,904         $36,085          $25,000          $370,989
     2020            $112,917              $194,934         $44,483          $25,000          $377,334

          21.    Defendant Roxanne S. Austin ("Austin") has been an AbbVie director since

January 2013. Defendant Austin was the Chair of AbbVie's Audit Committee and a member of

that committee from at least March 2020 to at least March 2021. AbbVie paid defendant Austin

the following compensation as a director:



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                                         Restricted
          Fiscal                         Stock Unit      All Other
           Year     Fees Paid in Cash     Awards       Compensation         Total
           2021         $140,583          $194,904       $25,000          $360,487
           2020         $137,917          $194,934       $25,000          $357,851

       22.    Defendant William H.L. Burnside ("Burnside") has been an AbbVie director since

January 2013. Defendant Burnside has been a member of AbbVie's Audit Committee since at least

March 2020. AbbVie paid defendant Burnside the following compensation as a director:

                                         Restricted
          Fiscal                         Stock Unit      All Other
           Year     Fees Paid in Cash     Awards       Compensation         Total
           2021         $121,000          $194,904       $25,000          $340,904
           2020         $118,917          $194,934       $25,000          $338,851

       23.    Defendant Frederick H. Waddell ("Waddell") has been an AbbVie director since

November 2012. Defendant Waddell has been a member of AbbVie's Audit Committee since at

least March 2020. AbbVie paid defendant Waddell the following compensation as a director:

                                         Restricted
          Fiscal                         Stock Unit      All Other
           Year     Fees Paid in Cash     Awards       Compensation         Total
           2021         $121,000          $194,904       $25,000          $340,904
           2020         $118,917          $194,934       $26,319          $340,170

       24.    Defendant Edward J. Rapp ("Rapp") has been an AbbVie director since January

2013. Defendant Rapp has been a member of AbbVie's Audit Committee since at least March

2020. AbbVie paid defendant Rapp the following compensation as a director:

                                         Restricted
          Fiscal                         Stock Unit      All Other
           Year     Fees Paid in Cash     Awards       Compensation         Total
           2021         $141,000          $194,904       $25,000          $360,904
           2020         $138,917          $194,934       $26,321          $360,172

       25.    Defendant Edward M. Liddy ("Liddy") has been an AbbVie director since January

2013. AbbVie paid defendant Liddy the following compensation as a director:




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                                                   Restricted
                   Fiscal                          Stock Unit
                    Year    Fees Paid in Cash       Awards           Total
                    2021        $123,333            $194,904       $318,237
                    2020        $132,917            $194,934       $327,851

       26.    Defendant Brett J. Hart ("Hart") has been an AbbVie director since May 2016.

AbbVie paid defendant Hart the following compensation as a director:

                                          Restricted
          Fiscal                          Stock Unit       All Other
           Year      Fees Paid in Cash     Awards        Compensation       Total
           2021          $135,000          $194,904        $25,000        $354,904
           2020          $132,917          $194,934        $25,000        $352,851

       27.    Defendant Melody B. Meyer ("Meyer") has been an AbbVie director since May

2017. Defendant Meyer has been a member of AbbVie's Audit Committee and has been since at

least March 2020. AbbVie paid defendant Meyer the following compensation as a director:

                                          Restricted
          Fiscal                          Stock Unit       All Other
           Year      Fees Paid in Cash     Awards        Compensation       Total
           2021          $121,000          $194,904        $25,000        $340,904
           2020          $118,917          $194,934        $25,000        $338,851

       28.    Defendant Rebecca B. Roberts ("Roberts") has been an AbbVie director since May

2018. AbbVie paid defendant Roberts the following compensation as a director:

                                          Restricted
          Fiscal                          Stock Unit       All Other
           Year      Fees Paid in Cash     Awards        Compensation       Total
           2021          $115,000          $194,904        $25,000        $334,904
           2020          $112,917          $194,934        $25,000        $332,851

       29.    Defendant Thomas C. Freyman ("Freyman") has been an AbbVie director since

May 2020. Defendant Freyman was also an AbbVie director from November 2012 to January

2013. Defendant Freyman has been Chair of AbbVie's Audit Committee since at least March

2022. AbbVie paid defendant Freyman the following compensation as a director:




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                                              Restricted
              Fiscal                          Stock Unit       All Other
               Year     Fees Paid in Cash      Awards        Compensation         Total
               2021         $129,583           $194,904        $25,000          $349,487
               2020          $67,083           $194,934             -           $262,017

        30.       The defendants identified in ¶¶15-18 are referred to herein as the "Officer

Defendants." The defendants identified in ¶¶15, 19-29 are referred to herein as the "Director

Defendants." Collectively, the defendants identified in ¶¶15-29 are referred to herein as the

"Individual Defendants."

                         DUTIES OF THE INDIVIDUAL DEFENDANTS

Fiduciary Duties

        31.       By reason of their positions as officers and directors of the Company, each of the

Individual Defendants owed and owe AbbVie and its stockholders fiduciary obligations of care

and loyalty, and were and are required to use their utmost ability to control and manage AbbVie

in a fair, just, honest, and equitable manner. The Individual Defendants were and are required to

act in furtherance of the best interests of AbbVie and not in furtherance of their personal interest

or benefit.

        32.       To discharge their duties, the officers and directors of AbbVie were required to

exercise reasonable and prudent supervision over the management, policies, practices, and controls

of the financial affairs of the Company. By virtue of such duties, the officers and directors of

AbbVie were required to, among other things:

                  (a)    conduct the affairs of the Company in an efficient, business-like manner in

compliance with all applicable laws, rules, and regulations so as to make it possible to provide the

highest quality performance of its business, to avoid wasting the Company's assets, and to

maximize the value of the Company's stock; and




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               (b)     remain informed as to how AbbVie conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, make reasonable

inquiry in connection therewith, and take steps to correct such conditions or practices and make

such disclosures as necessary to comply with applicable laws.

Breaches of Duties

       33.     The conduct of the Individual Defendants complained of herein involves a knowing

and culpable violation of their obligations as officers and directors of AbbVie, the absence of good

faith on their part, and a reckless disregard for their duties to the Company that the Individual

Defendants were aware or reckless in not being aware posed a risk of serious injury to the

Company.

       34.     The Individual Defendants breached their duty of loyalty by allowing defendants

to cause, or by themselves causing, the Company to engage in improper practices that wasted the

Company's assets, and caused AbbVie to incur substantial damage.

       35.     The Individual Defendants, because of their positions of control and authority as

officers and/or directors of AbbVie, were able to and did, directly or indirectly, exercise control

over the wrongful acts complained of herein. The Individual Defendants also failed to prevent the

other Individual Defendants from taking such illegal actions. As a result, and in addition to the

damage the Company has already incurred, AbbVie has expended, and will continue to expend,

significant sums of money.

        COMPARABLE JAK INHIBITORS STRUGGLE FOR FDA APPROVAL

       36.     RA is an autoimmune disease. RA occurs when a person's immune system attacks

healthy cells by mistake, causing inflammation in the affected parts of the body.




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        37.        Ulcerative colitis is a chronic inflammatory bowel disease.      It occurs when

abnormal reactions of the immune system cause inflammation and ulcers on the inner lining of the

large intestine.

        38.        Rinvoq is a JAK inhibitor. JAK are types of enzymes that transduce signals in the

body, which can cause inflammation within the body. JAK inhibitors work by reducing the activity

of one or more JAK, preventing the over-activity in the immune system that contributes to RA and

ulcerative colitis.

        39.        JAK inhibitors are not new drugs. The FDA approved Pfizer's JAK inhibitor,

Xeljanz, in 2012 for the treatment of adults with RA that did not respond well to the medicine

methotrexate. In 2018, the FDA approved Xeljanz for the treatment of ulcerative colitis.

        40.        The FDA, however, also required that Pfizer conduct additional safety trials on

Xeljanz, known as the ORAL Surveillance study. On February 25, 2019, the FDA announced that

the ORAL Surveillance study found an increased risk of blood clots in lungs and death when RA

patients used Xeljanz. On January 26, 2019, the FDA approved new warnings about the increased

risk of blood clots and death in connection with the use of the 10mg twice daily dose of Xeljanz

for treatment of ulcerative colitis.

        41.        On February 4, 2021, the FDA alerted the public that the preliminary results from

the ORAL Surveillance study "show an increased risk of serious heart-related problems and

cancer" from the use of Xeljanz and Xeljanz XR compared to competitor treatments.

                   DEFENDANTS MISLEAD THE MARKET ABOUT RINVOQ

        42.        The market was rightly concerned about AbbVie's potential blockbuster/Humira

replacement, Rinvoq, in light of Xeljanz's safety issues. However, defendants presented Xeljanz's

safety issues as unique to that drug and not indicative of JAK inhibitors in general.




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       43.     In particular, on April 30, 2021, the Company held a conference call with analysts

and investors to discuss its financial results for the first quarter of the 2021 fiscal year. Analysts

were interested in what the recent news from the FDA on Xeljanz meant for Rinvoq. Defendant

Stewart stated, "What we have heard is when we do some of our research and our ear to the ground,

we clearly see that oral surveillance is perceived as a Xeljanz issue."

       44.     During that same call, defendants Gonzalez and Severino also discussed expanding

Rinvoq's use to additional treatments. In particular, defendant Gonzalez stated:

       I'm also extremely pleased with our R&D prospects, including the number and
       potential of the opportunities, especially within our late-stage pipeline. We're on
       the cusp of the potential commercial approval of more than a dozen new products
       or indications over the next 2 years, including … expanded indications for Rinvoq
       in psoriatic arthritis, ankylosing spondylitis and atopic dermatitis.

       45.     In particular, defendant Severino stated:

       Our regulatory submissions are currently under review for Rinvoq in 3 new
       indications in the U.S., ankylosing spondylitis, psoriatic arthritis and atopic
       dermatitis. As we previously announced, the FDA recently extended the review
       period for Rinvoq in psoriatic arthritis and atopic dermatitis, following a request
       for an updated assessment of the benefit-risk profile for Rinvoq in these indications.
       In response to the FDA request, we provided updated data from across Rinvoq
       programs in RA, psoriatic arthritis and atopic dermatitis. Based on the review
       extensions, we now expect approval decisions for psoriatic arthritis in June and for
       atopic dermatitis in July. The regulatory action date for Rinvoq in ankylosing
       spondylitis is unchanged and remains on track for June. We remain confident in
       the benefit-risk profile of Rinvoq across all indications, and we'll work with the
       FDA to bring Rinvoq to market in these new disease areas.

       46.     On May 25, 2021, defendants Stewart, Severino, and Michael presented on behalf

of AbbVie at the UBS Global Healthcare Virtual Conference. During the conference, defendant

Severino implicitly acknowledged the overlap between Xeljanz and Rinvoq, while also claiming

Rinvoq was safer. In particular, he stated:

       With respect to the label, I think it's early to speculate, we don't know what
       XELJANZ labeling will look like and that is obviously a key component of the
       story. But what I would say is, we remain very confident in the data that we've
       generated for RINVOQ. We have a very large data set, more than 10,000 patient


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       years of follow-up. We have long-term randomized data, and we know that those
       randomized data, controlled data are the most impactful, with the agency when
       looking at safety questions like the ones that they're examining, we have 3-year data
       in RA. We have 1-year data in psoriatic arthritis. We have large safety databases
       across all of the indications that we are pursuing.

       And those data have not shown a signal with our agent, with RINVOQ, for the
       adverse experiences that are being evaluated with XELJANZ and with others.
       Specifically, we've not seen increased rates of VTE or PE. We've not seen increased
       rates of cardiovascular events or MACE events, and we've not seen increased risk
       for malignancy. And if you look at the track record here, we've been very successful
       in getting our data into the label so they're well understood by prescribing
       physicians.

       And if one looks at the RA launch, we had our data in the label for RA, both our
       efficacy and our safety data. I think they well characterize the benefit risk of the
       molecule in that launch. Performed very well. In fact, it exceeded our expectations,
       so we feel good about the opportunities that are in front of us for psoriatic arthritis,
       for atopic dermatitis and ankylosing spondylitis, which are the indications that are
       under review. And of course, we have more indications that are still in Phase III
       and we feel confident in those as well.

       47.     On June 2, 2021, defendants Severino and Michael presented on behalf of AbbVie

at the Sanford C. Bernstein Strategic Decisions Virtual Conference. In response to an analyst's

question, defendant Severino stated that Xeljanz's issues were unique to that drug and implied that

Rinvoq's performance was improving due to physicians moving away Xeljanz. In particular, the

following exchange took place:

       [Analyst]: Okay. So the other question is the impact of all this debate on physician
       behavior. Within RA, are we seeing patients -- are you seeing physician gradually
       moving away from XELJANZ? Is there a moving towards RINVOQ away from
       XELJANZ as a result of the heightened safety concern around XELJANZ?

       [Defendant Severino]: Well, in the RA market, what we see is RINVOQ continues
       to perform very strongly. And its trajectory continues along a path that we would
       expect. So the XELJANZ issue seems to be viewed by the prescribing community
       as specific to XELJANZ. So you see a change in the XELJANZ performance, but
       RINVOQ's performance has continued. And since...

       [Analyst]: Yes. Have you gained from the XELJANZ's problems?

       [Defendant Severino]: Well, we've continued to grow and so we're picking up
       patients from a variety of sources. We're picking up patients from many other


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       therapies. It's hard to say what a doc would have prescribed 6 months ago versus
       what they're prescribing today, but we're continuing to gain and our in-play share
       is very strong.

       48.     Defendant Severino also claimed that the Company was moving forward and

expected FDA approval on using Rinvoq for the treatment of atopic dermatitis. In particular, the

following exchange took place:

       [Defendant Severino]: So the PDUFA date for the atopic derm indication, which
       is I assume the indication that you're referring to, had been April and it moved 3
       months so it's now in July. So early in the third quarter. And we feel like we are
       making appropriate progress with the -- our ability to provide answers to the FDA,
       provide them the data that they have requested, and we feel good about the overall
       progress we're making there. And we feel very confident in that overall profile and
       our ability to gain an approval in that indication.

       With respect to an AdCom, I don't think an AdCom is likely at all. And the reason
       for that is that if the FDA were planning an AdCom, they would already be setting
       that in motion. We would absolutely expect them to have reached out to us. We'd
       expect them to be deep in preparation for an AdCom and they're not. So while they
       still have the authority to do that, it seems very unlikely that they will for that simple
       reason. And if you look at their track record here, they have made these decisions
       on their own, based on their own review of the data in this class, pretty consistently.

       If you look at the RINVOQ RA application, that was in review at the time that the
       baricitinib, DVT, PE issue came to light. And there was speculation at that time
       that there would be an AdCom before they could act on the RA application. And
       there was not. The FDA made their decision based on the data that we provided
       them and based on their own review of those data. And the outcome there was a
       good one and the label that we achieved was a good one. And it supported the very
       robust launch in RA that quite frankly exceeded our expectations and I think
       exceeded expectations broadly speaking.

       [Analyst]: Okay. So the obvious question is, are we at the -- is there still a go, a
       back-and-forth in things like the label language? Is the overall review still
       progressing with the exception of that question of the safety profile of the class? Or
       is this kind of done and that's the last gating factor? Or is everything delayed and
       will we start somewhere in June? Can I -- can you give us a little bit more color on
       this?

       [Defendant Severino]: I would say that the review of the file is progressing in a
       way that's very consistent with our expectations. We -- we're asked in April to
       supply some additional data. We supplied those data. We viewed the data as
       supportive of our overall application and very consistent with everything that we've



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       said about product safety and efficacy. And I would say that the file is progressing
       as we would have expected.

       [Analyst]: A kind of like label discussion at this point or close enough to closing
       the last gaps in what needs to get done before approval. Is that kind of like the
       overall picture?

       [Defendant Severino]: Yes. I mean we usually don't comment on the specifics of
       exact label discussions until they're finalized. But I would say we're making the
       progress that we would expect and we believe we're on track for an approval on the
       new PDUFA date.

       49.     At the Goldman Sachs Global Healthcare Virtual Conference held on June 8, 2021,

defendant Severino again claimed that there were notable differences between Xeljanz and Rinvoq

when it came to both efficacy and safety. In particular, he stated:

       Well, we certainly have seen differences in JAKs with respect to performance and
       with respect to a number of safety issues, if you look across the class. And while
       people talk about the JAK class in aggregate, there are very significant differences
       in specificity for JAK type, and those can drive real differences in performance,
       both from a safety and an efficacy perspective. And we've consistently had very
       strong data in both perspectives.

       Obviously, most of the attention now comes after the results of the XELJANZ oral
       surveillance study and the results that were demonstrated there on MACE and
       malignancy. So failing to clear their safety boundary for those 2 events in a study
       that was a post-marketing requirement, going way back to their original approval.

       What I would say there is we've looked for those events very carefully within our
       program. We have a large database. We have more than 10,000-patient years'
       experience in our clinical trials database that we have examined for these events.
       We adjudicate these events. We have very rigorous methods to try to make sure
       that we are capturing all events that are occurring. And those databases have not
       shown a signal for increased risk. And that's true whether you look compared to
       baseline rates or within the controlled portions of those programs where you have
       long-term control data against Humira, principally, and other agents as well. We've
       not shown evidence of increased risk for MACE, for malignancy, for DVT and PE.
       So we feel confident in the profile that we've described.

       And I think it's challenging to predict how they will come down on labeling across
       each member of the class. But what I would say is we have been successful in
       making sure that our data are reflected in our label, and that's been well understood
       by prescribing physicians. And if you go back, as an analogy, if you will, to the RA
       approval, which occurred right around the time that the DVT and PE issue was the
       focus for baricitinib, we had data in our label that described our experience. Those


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       data were well understood by physicians, and the uptake has been very robust in
       that indication. And so I think we're in a very similar position here.

                                    THE TRUTH EMERGES

       50.     Despite defendants' claims above, the FDA did not view the problems revealed in

the ORAL Surveillance study as just a "Xeljanz issue." Rather, on June 25, 2021, the Company

announced that the FDA would not complete its review of using Rinvoq for treatment of psoriatic

arthritis and ankylosing spondylitis because of "its ongoing review of Pfizer's post-marketing

study, ORAL Surveillance." AbbVie announced the FDA extended its review on July 16, 2021.

       51.     Defendants downplayed the meaning of the FDA's delay and continued review of

the ORAL Surveillance study. On the Company's second quarter 2021 earnings conference call

held on July 30, 2021, defendant Severino stated:

       The FDA has not requested any additional safety analysis for RINVOQ since the
       PDUFA dates were missed. While there are no new action dates, based on our
       discussions with the agency, we expect decisions on our regulatory applications in
       the next few months following completion of the agency's review of the tofacitinib
       oral surveillance data. We remain confident in the benefit risk profile for RINVOQ
       across all indications, and we'll continue to work with the FDA to bring RINVOQ
       to market in these new disease areas.

       52.     During the same call, defendant Stewart stated:

       We are anxiously awaiting the resolution here of oral surveillance, which obviously
       has delayed our regulatory submissions, but it's not outside of the realm of
       possibility given the very significant differentiated data that we have in our
       packages that we could see an acceleration as things resolve.

       53.     On September 1, 2021, the FDA announced that the final results of the ORAL

Surveillance study. It found that even at lower doses Xeljanz was associated with "an increased

risk of serious heart-related events such as heart attack or stroke, cancer, blood clots, and death."

The FDA ordered "new and updated warnings" for Xeljanz. However, the FDA did not stop there.

The FDA explained that "since they share mechanisms of action with Xeljanz," it would also

require updated warnings for other JAK inhibitors, most notably Rinvoq. The FDA also explained


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going forward it would only approve Rinvoq (and Xeljanz) use for "certain patients who have not

responded [to] or cannot tolerate one or more [tumor necrosis factor] blockers."

        54.     The FDA's announcement effectively killed any chance of Rinvoq becoming

AbbVie's next big drug and replacing Humira. Investors noticed. That day the Company's market

capitalization fell over $15 billion.

        55.     On December 3, 2021, AbbVie revealed the updated label for Rinvoq. It was as

bad as feared. In particular, the Company stated:

        [T]he U.S. label for RINVOQ will now include additional information about the
        risks of malignancy and thrombosis, and the addition of mortality and MACE
        (defined as cardiovascular death, myocardial infarction and stroke) risks within the
        Boxed Warnings and Warnings and Precautions sections. The indication has also
        been updated to the following: RINVOQ is indicated for the treatment of adults
        with moderately to severely active rheumatoid arthritis who have had an inadequate
        response or intolerance to one or more TNF blockers.

                      REASONS THE STATEMENTS WERE IMPROPER

        56.     The statements referenced above were each improper when made because they

failed to disclose and misrepresented the following material, adverse facts, which the Individual

Defendants knew, consciously disregarded, or were reckless in not knowing:

                (a)     Rinvoq was sufficiently similar to Xeljanz as a JAK inhibitor that the FDA

would find the safety concerns from the ORAL Surveillance study also applied to Rinvoq;

                (b)     the FDA would require significant safety warnings for Rinvoq in light of

the ORAL Surveillance study; and

                (c)     the FDA would delay approval of any additional treatment uses of Rinvoq

in light of safety concerns.

                           THE FALSE AND MISLEADING PROXY

        57.     Defendants Alpern, Austin, Burnside, Tilton, Waddell, Rapp, Liddy, Hart, Meyer,

Roberts, Freyman, and Gonzalez breached their fiduciary duties and violated section 14(a) of the


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Exchange Act by making false and misleading statements while recommending stockholders make

certain votes. In particular, on March 22, 2021, defendants Alpern, Austin, Burnside, Tilton,

Waddell, Rapp, Liddy, Hart, Meyer, Roberts, Freyman, and Gonzalez caused AbbVie to file with

the SEC its Proxy Statement in connection with the 2021 Annual Meeting of Stockholders (the

"Proxy"). The Proxy solicited stockholder votes on AbbVie's amended and restated 2013 incentive

stock program and on having an independent Chair of the Board. The Board recommended voting

for the amended and restated 2013 incentive stock program and against having an independent

Chair of the Board.

       58.      In recommending that stockholders vote in favor of the amended and restated 2013

incentive stock program, the Board claimed that the equity awards "align the interests of our

employees, officers and non-employee directors with those of other stockholders." In particular,

the Proxy stated:

       The purpose of the Amended Plan is to attract and retain outstanding employees,
       officers, and non-employee directors of AbbVie and its subsidiaries and to motivate
       such individuals by providing opportunities to acquire AbbVie shares of common
       stock or to receive payments based on the value of such shares or on the financial
       performance of AbbVie, or both, on advantageous terms and to further align such
       persons' interests with those of AbbVie's other stockholders.

       59.      The Proxy also stated:

       Equity incentives align the interests of our employees, officers and non-
       employee directors with those of other stockholders. AbbVie believes that
       equity incentives motivate recipients to focus on behaviors that, over time, lead to
       sustained growth in stockholder value.

       60.      The Proxy also stated:

            AbbVie does not include certain pay design features that may have the potential
             to encourage excessive risk-taking, such as: over-weighting toward annual
             incentives, highly leveraged payout curves, unreasonable thresholds or
             dramatic changes in payout opportunity at certain performance levels that may
             encourage inappropriate short-term business decisions to meet payout
             thresholds. In addition, a limit of 200% of target applies to any awards made
             under the NEO short-term incentive plan.


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             AbbVie's long-term incentive program focuses NEOs on longer-term operating
              performance and aligns NEOs with stockholder interests through the use of
              multi-year performance periods and multiple performance measures, including
              relative total stockholder return.

        61.      These statements were untrue. The material terms of the performance goals in the

amended and restated 2013 incentive stock program did not encourage proper risk oversight, nor

advance long-term stockholder value. For example, by focusing on total stockholder return, the

amended and restated 2013 incentive stock program incentivizes executives to mislead the market

to inflate the Company's stock price.

        62.      Certain stockholders proposed that AbbVie adopt a policy and amend its bylaws as

necessary to require that the Chairman of the Board is an independent director, as opposed to the

CEO. The stockholders explained: "In light of rising material legal, regulatory, financial and

reputational risks, as well as the controversies and legal challenges facing the company we are

concerned that the Board is not providing the necessary oversight of the company's culture,

strategy, and risk management."

        63.      The Board recommended that stockholders vote against the stockholder proposal

due, at least in part to its claim that:

        AbbVie has other robust corporate governance practices designed to protect long-
        term shareholder value. … Other corporate governance practices, which are
        highlighted in our Governance Guidelines (available at www.abbvieinvestor.com)
        and throughout this proxy statement, include a comprehensive board risk
        management oversight process[.]

        64.      Other statements concerning the Company's corporate governance contained in the

Proxy included: "Our board of directors is committed to strong corporate governance tailored to

meet the needs of AbbVie and its stockholders to enhance long-term stockholder value."

        65.      The Proxy also explicitly referenced AbbVie's corporate governance guidelines and

policies located at its website, stating:



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       AbbVie's corporate governance guidelines with the outline of directorship
       qualifications; director independence guidelines; code of business conduct; and
       audit committee, compensation committee, nominations and governance
       committee, and public policy committee charters are all available in the corporate
       governance      section    of   AbbVie's    investor    relations    website    at
       www.abbvieinvestor.com.

       66.     The website explicitly referenced in the Proxy leads stockholders to a "Code of

Business Conduct." This Code claims that AbbVie "follow[s] industry laws and regulations";

"maintain[s] high standards in research & development" and "maintain[s] trustworthy business

practices"; and "communicate[s] with the public appropriately."

       67.     The Code also stated:

       We maintain trustworthy business practices

       We comply with all applicable laws that regulate our business.

       We conduct our business in a transparent and ethical manner and comply with all
       applicable laws.

                                             *     *      *

       We communicate with the public appropriately

       It is a privilege to share the pride of our accomplishments with the world. When we
       share information, the public expects us to be consistent and accurate.

       68.     These statements were untrue as, explained above, AbbVie was misleading the

market about Rinvoq, its safety, the drug's similarities to Pfizer's JAK inhibitor, and the likelihood

of FDA action on Rinvoq.

       69.     On May 5, 2021, AbbVie held its Annual Meeting of Stockholders. As a direct

result of the misleading statements, the Company's stockholders approved the amended and

restated 2013 incentive stock program and did not approve the stockholder proposal for a policy

where the Chairman of the Board is an independent director.




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                                     DAMAGES TO ABBVIE

        70.     As a result of the Individual Defendants' improprieties, AbbVie disseminated

improper, public statements concerning the safety of Rinvoq, the drug's labeling, and the likelihood

that the FDA approved the use of Rinvoq for additional indications. These improper statements

have devastated AbbVie's credibility as reflected by the Company's $15 billion market

capitalization loss.

        71.     Further, as a direct and proximate result of the Individual Defendants' actions,

AbbVie has expended, and will continue to expend, significant sums of money, including the costs

incurred from defending and paying any settlement in the class actions for violations of federal

securities laws.

                   DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

        72.     Plaintiff brings this action derivatively in the right and for the benefit of AbbVie to

redress injuries suffered, and to be suffered, by AbbVie as a direct result of breaches of fiduciary

duty and violation of securities law, as well as the aiding and abetting thereof, by the Individual

Defendants. AbbVie is named as a nominal defendant solely in a derivative capacity. This is not

a collusive action to confer jurisdiction on this Court that it would not otherwise have.

        73.     Plaintiff will adequately and fairly represent the interests of AbbVie in enforcing

and prosecuting its rights.

        74.     Plaintiff was a stockholder of AbbVie at the time of the wrongdoing complained

of, has continuously been a stockholder since that time, and is a current AbbVie stockholder.

        75.     The current Board of AbbVie consists of the following twelve individuals:

defendants Gonzalez, Alpern, Austin, Burnside, Freyman, Hart, Liddy, Meyer, Rapp, Roberts,




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Tilton, and Waddell. Plaintiff has not made any demand on the present Board to institute this

action because such a demand would be a futile, wasteful, and useless act, as set forth below.

Demand Is Excused Because Defendants Gonzalez, Alpern, Austin, Burnside, Freyman,
Hart, Liddy, Meyer, Rapp, Roberts, Tilton, and Waddell Face a Substantial Likelihood of
Liability for Their Misconduct
          76.   As alleged above, defendants Gonzalez, Alpern, Austin, Burnside, Freyman, Hart,

Liddy, Meyer, Rapp, Roberts, Tilton, and Waddell breached their fiduciary duties of loyalty and

violated securities laws by making improper statements in the Company's SEC filings, including

the Proxy.

          77.   In addition, each director breached their duty of oversight by allowing the above

false statements about a core product for the Company, Rinvoq, the potential replacement for

Humira.

                                            COUNT I

                Against the Individual Defendants for Breach of Fiduciary Duty

          78.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

          79.   The Individual Defendants owed and owe AbbVie fiduciary obligations. By reason

of their fiduciary relationships, the Individual Defendants owed and owe AbbVie the highest

obligation of care and loyalty.

          80.   The Individual Defendants and each of them, violated and breached their fiduciary

duties.

          81.   As a direct and proximate result of the Individual Defendants' breaches of their

fiduciary obligations, AbbVie has sustained significant damages, as alleged herein. As a result of

the misconduct alleged herein, these defendants are liable to the Company.

          82.   Plaintiff, on behalf of AbbVie, has no adequate remedy at law.


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                                           COUNT II

    Against the Director Defendants for Violation of Section 14(a) of the Exchange Act.

       83.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       84.     The Director Defendants issued, caused to be issued, and participated in the

issuance of materially misleading written statements to stockholders which were contained in the

Proxy. By reasons of the conduct alleged herein, the Director Defendants violated section 14(a)

of the Exchange Act. As a direct and proximate result of these defendants' wrongful conduct, the

Director Defendants misled and/or deceived its stockholders by making misleading statements that

were essential links in stockholders heeding AbbVie's recommendation to vote in favor of the

amended and restated 2013 incentive stock program and against separating the Chairman of the

Board from the CEO.

       85.     The misleading information contained in the Proxy was material to AbbVie

stockholders. The Proxy solicitation process in connection with the Proxy were essential links in

the approval of the amended and restate 2013 incentive stock program and the disapproval of

splitting the Chairman of the Board from the CEO.

       86.     Plaintiff, on behalf of AbbVie, thereby seeks relief for damages inflicted upon the

Company based upon the misleading Proxy in connection with the improper reelection of the

members of the Board.




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                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff, on behalf of AbbVie, demands judgment as follows:

       A.      Against all of the defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of the defendants' breaches of fiduciary duties and

violations of securities law;

       B.      Directing AbbVie to take all necessary actions to reform and improve its corporate

governance and internal procedures to comply with applicable laws and to protect AbbVie and its

stockholders from a repeat of the damaging events described herein, including, but not limited to,

putting forward for stockholder vote, resolutions for amendments to the Company's Bylaws or

Articles of Incorporation and taking such other action as may be necessary to place before

stockholders for a vote of the following corporate governance policies:

               1.      a proposal to strengthen AbbVie's oversight of its disclosure procedures;

               2.      a proposal to strengthen the Board's supervision of operations and develop

and implement procedures for greater stockholder input into the policies and guidelines of the

Board; and

               3.      a provision to permit the stockholders of AbbVie to nominate at least three

candidates for election to the Board;

       C.      Extraordinary equitable and/or injunctive relief as permitted by law, equity, and

state statutory provisions sued hereunder, including attaching, impounding, imposing a

constructive trust on, or otherwise restricting the proceeds of defendants' trading activities or their

other assets so as to assure that plaintiff on behalf of AbbVie has an effective remedy;

       D.      Awarding to AbbVie restitution from defendants, and each of them, and ordering

disgorgement of all profits, benefits, and other compensation obtained by the defendants;




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       E.      Awarding to plaintiff the costs and disbursements of the action, including

reasonable attorneys' fees, accountants' and experts' fees, costs, and expenses; and

       F.      Granting such other and further relief as the Court deems just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.

Dated: May 23, 2022                                     TREPPEL FAMILY TRUST, Derivatively
                                                        on Behalf of ABBVIE INC.,

                                                 By: s/Michael K. Forde
                                                     One of Its Attorneys

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                                        VERIFICATION

       I, Lawrence Treppel, hereby declare as follows:

       I am the Trustee of the Treppel Family Trust, the plaintiff in this action. I have read the

verified stockholder derivative complaint on behalf of AbbVie Inc. Based upon discussions with

and reliance upon my counsel, and as to those facts of which I have personal knowledge, the

complaint is true and correct to the best of my knowledge, information, and belief.

       I declare under penalty of perjury that the foregoing is true and correct.

       Signed and Accepted:

                                                Dated:__________________________________




                                                             LAWRENCE TREPPEL
